           Case 1:21-cv-01751-RDM Document 51 Filed 07/27/22 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 QUYNH VU BAIN,

                  Plaintiff,

           v.
                                                            Civil Action No. 21-1751 (RDM)
 OFFICE OF THE ATTORNEY GENERAL,
 et al.,

                  Defendants.


  SUPPLEMENTAL RESPONSE TO PLAINTIFF’S REQUEST TO SEAL/UNSEAL
                         DOCUMENTS

          By and through its undersigned counsel, Defendants (the “Agencies”) respectfully submit

this supplemental response to the Plaintiff’s request that documents remain sealed and that others

be unsealed (ECF No. 47-1). This Supplemental response deals exclusively with Exhibit 17.

          The original response from Defendants (ECF No. 50) with regard to Exhibit 17 stated as

follows:

          Exhibit 17: Defendants object to the sealing of this exhibit. By Plaintiff’s own admission,
          the material in this exhibit, OPR’s Report of Investigation, is in the public domain. As this
          information is in the public domain, there is no reason for it and related exhibits to remain
          sealed.

          Defendants wish to supplement and correct their response to this exhibit. According to

Plaintiff’s description of Exhibit 17 contained in her submission (ECF No. 47-1), the exhibit

consists of three documents, one of which is OPR’s investigative summary of the complaint of

judicial misconduct with respect to Plaintiff. This investigative summary has been posted on

OPR’s website and is in the public domain. Thus, Defendants object to this document remaining

sealed.
         Case 1:21-cv-01751-RDM Document 51 Filed 07/27/22 Page 2 of 2




       However, OPR’s full Report of Investigation (“ROI”) has not been made public and is not

in the public domain. Plaintiff has included the full ROI as part of her submission in Exhibit Nos.

1 and 30, and has asked that those exhibits remain under seal. OPR is in concurrence with Plaintiff

that the full ROI should remain sealed at this time.

       Therefore, Defendants respectfully request that the investigative summary be unsealed but

that the full ROI remain sealed.

Dated: July 27, 2022
       Washington, DC
                                               Respectfully submitted,

                                               MATTHEW M. GRAVES, D.C. Bar #481052
                                               United States Attorney

                                               BRIAN P. HUDAK
                                               Chief, Civil Division

                                               By:             /s/ Thomas W. Duffey
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